Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 1 of 15 PageID #: 14664




                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 HUAWEI TECHNOLOGIES CO. LTD.,

              Plaintiff,

       v.

 VERIZON COMMUNICATIONS, INC.,      C.A. 2:20-cv-00030-JRG
 VERIZON BUSINESS NETWORK
 SERVICES, INC., VERIZON ENTERPRISE
 SOLUTIONS, LLC, CELLCO PARTNERSHIP
 D/B/A VERIZON WIRELESS, INC.,
 VERIZON DATA SERVICES LLC, VERIZON
 BUSINESS GLOBAL LLC, AND VERIZON
 SERVICES CORP.

              Defendants.


 VERIZON BUSINESS NETWORK
 SERVICES, INC., CELLCO PARTNERSHIP
 D/B/A VERIZON WIRELESS, VERIZON
 DATA SERVICES LLC, VERIZON
 BUSINESS GLOBAL LLC, VERIZON
 SERVICES CORP., AND VERIZON PATENT
 AND LICENSING INC.

              Counterclaim-Plaintiffs,

       v.

 HUAWEI TECHNOLOGIES CO. LTD.,
 HUAWEI TECHNOLOGIES USA, INC., AND
 FUTUREWEI TECHNOLOGIES INC.

              Counterclaim-Defendants.


            HUAWEI’S REPLY CLAIM CONSTRUCTION BRIEF REGARDING
                       THE HUAWEI ASSERTED PATENTS
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 2 of 15 PageID #: 14665




                                                 TABLE OF CONTENTS

 I.     ’433 PATENT ANALYSIS ................................................................................................ 1

          Data Blocks Containing Data Only.................................................................................. 1

          Control Block Buffer / Data Block Buffer ....................................................................... 1

          Claim 1 Method Steps ...................................................................................................... 1

 II.    ’151 PATENT ANALYSIS ................................................................................................ 1

          Using a General Framing Procedure (GFP) or other adaptation protocols ...................... 1

          Low-rate traffic ................................................................................................................ 2

          Transmitting the ODUk [via / in] the OTN ..................................................................... 2

          Rate Rank ......................................................................................................................... 2

          Adapted To / Configured To ............................................................................................ 3

 III.   ’982 PATENT ANALYSIS ................................................................................................ 3

          In Groups of M Bytes ...................................................................................................... 3

          LO ODU / HO OPU ......................................................................................................... 4

          Encapsulating Overhead Information to an Overhead Area of the ODTU ...................... 4

          Time Slot .......................................................................................................................... 4

          Tributary Slot ................................................................................................................... 5

          Optical Channel Data Tributary Unit (ODTU) Signal ..................................................... 5

 IV.    ’236 PATENT ANALYSIS ................................................................................................ 5

          client signal byte number Cn ........................................................................................... 5

          if the Cn transported in the OTN frame needs to be [increased / decreased] .................. 6

          revers[e/ing] … values of [a/the] [first / second] series of bit positions .......................... 6

          [a / the] first series of bit positions / [a / the] second series of bit positions .................... 7



                                                                     i
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 3 of 15 PageID #: 14666




           [whether] the [client signal byte number] Cn exceeds [a / the] range ............................. 7

           identifying the Cn is normal [in a first area] .................................................................... 7

           generat[e/ing] a client signal byte number Cn . . . ........................................................... 8

 V.      ’505 PATENT ANALYSIS ................................................................................................ 8

           Optical Channel Data Tributary Unit (ODTU) [frame] / ODTU [frame] ........................ 8

           determining a quantity of n-bit data units of the client signal based on. . . ..................... 8

           n-bit data units / n indicating the number of the multiple OPUk TSs.............................. 9

           Optical Channel Payload Unit-k Tributary Slot (OPUk TS) ........................................... 9

           mapping each byte of the second ODTU frame to at least one OPUk TS ....................... 9

 VI.     ’253 PATENT ANALYSIS ................................................................................................ 9

           Judging Terms .................................................................................................................. 9

           Configured To .................................................................................................................. 9

           Null ……………………………………………………………………………………9

 VII.    ’485 PATENT ANALYSIS ................................................................................................ 9

 VIII.   ALLEGED SECTION 112(6) TERMS ............................................................................ 10




                                                                    ii
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 4 of 15 PageID #: 14667




                                                  TABLE OF AUTHORITIES


 Cases

 Aventis Pharm. Inc. v. Amino Chems. Ltd.
    715 F.3d 1363 (Fed. Cir. 2013)................................................................................................. 9

 Bell & Howell Document Mgmt. Prod. Co. v. Altek Sys.
     132 F.3d 701 (Fed. Cir. 1997)................................................................................................... 2

 Celltrace LLC v. AT & T Inc., No. 6:09-CV-294, 2011 WL 738927 (E.D. Tex. Feb.
    23, 2011) ................................................................................................................................... 2

 Merck & Co. v. Teva Pharms. USA, Inc.
    395 F.3d 1364 (Fed. Cir. 2005)................................................................................................. 6

 Personalized Media Commc'n, LLC v. Motorola, Inc.
    No. 2:08-CV-70-CE, 2011 WL 4591898 (E.D. Tex. Sept. 30, 2011) ...................................... 2

 Promethean Insulation Tech. LLC v. Sealed Air Corp.
    No. 2:13-CV-1113, 2015 WL 11027039 (E.D. Tex. Oct. 25, 2015) ........................................ 3

 Retractable Techs., Inc. v. Becton, Dickinson & Co.
    653 F.3d 1296 (Fed. Cir. 2011)................................................................................................. 1

 SuperGuide Corp v. DirecTV Enterprises, Inc.
    358 F.3d 870 (Fed. Cir. 2004)............................................................................................... 2, 3

 Statutes

 35 U.S.C. § 102 ............................................................................................................................... 4

 35 U.S.C. § 103 ............................................................................................................................... 4

 35 U.S.C. § 112 ............................................................................................................................. 10




                                                                        iii
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 5 of 15 PageID #: 14668




 I.     ’433 PATENT ANALYSIS

                Data Blocks Containing Data Only
        While a POSITA would recognize that “data blocks” are different from “control blocks,”

 Verizon fails to justify introducing the vague terms “service data” or “control information.”

                Control Block Buffer / Data Block Buffer
        Verizon argues that one buffer structure cannot satisfy both of these limitations, but that

 is simply not how the law works. See Retractable Techs., Inc. v. Becton, Dickinson & Co., 653

 F.3d 1296, 1303 (Fed. Cir. 2011). Verizon also partially describes how these terms were

 amended during prosecution, but fails to identify any prior art that was distinguished or other

 statement of prosecution disclaimer. Indeed, the complete amendment does not support

 Verizon’s position. Dkt. No. 98-19 at 36 (“data block buffer containing data blocks only”).

                Claim 1 Method Steps
        Suppose a device receives a set of control blocks (“C”) and data blocks (“D”), which can

 be in any order, e.g., C D D C D C D D. The device can set a first identifier indicating that at

 least one control block is received, and a second identifier indicating that three control blocks are

 present, and then re-order the blocks to provide the control block group up front: C C C D D D D

 D. Thus, there is no logical requirement that the control blocks be placed into the control block

 group before setting the first and second identifiers. With respect to the third and fourth

 identifiers, Verizon is correct that the block type and position of a control block must be

 “known” before setting the identifiers for those aspects, but this only requires that the control

 blocks be received before setting those identifiers, not that the control blocks be re-ordered into

 the control block group before setting those identifiers.

 II.    ’151 PATENT ANALYSIS

                Using a General Framing Procedure (GFP) or other adaptation protocols
        Verizon does not dispute that the phrase “or other adaptation protocols” refers to

 adaptation protocols other than GFP. Nonetheless, it asks the Court to limit the claims to



                                                   1
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 6 of 15 PageID #: 14669




 requiring GFP. It provides no authority indicating that a Court may strike language from a

 patent claim to reach such a result. This is particularly true here where the specification

 expressly states that the invention is not limited to GFP. ’151 patent at 11:16-19.

        Verizon also argues that this term must be interpreted narrowly because the claim term

 “mapping” already encompasses GFP. However, this term clarifies the “mapping” limitation to

 confirm that the claims cover GFP, but are not limited to GFP. This is an appropriate way to

 draft a claim. See Bell & Howell Document Mgmt. Prod. Co. v. Altek Sys., 132 F.3d 701, 707

 (Fed. Cir. 1997) (explaining that a claim may use multiple terms to reinforce a limitation because

 “defining a state of affairs with multiple terms should help, rather than hinder, understanding”).

 Verizon also notes that this limitation was added during prosecution, but it identifies no

 disclaimer indicating the it was added to limit the claims to GFP only.

                Low-rate traffic
        Verizon identifies no claim scope dispute justifying a construction for this term.

                Transmitting the ODUk [via / in] the OTN
        To the extent Verizon contends that the claims requiring “creating” an ODUk “within” an

 OTN, it fails to explain or otherwise support reading such a limitation into the claims.

                Rate Rank
        Verizon acknowledges that patent claims are not typically limited to embodiments known

 at the time the patent was filed, but it contends that this rule does not apply to standards-based

 claim terms. Verizon is wrong. For example, in SuperGuide Corp v. DirecTV Enterprises, Inc.,

 358 F.3d 870, 878 (Fed. Cir. 2004), the Federal Circuit found that the term “regularly received

 television signal” covered digital signals even though the standard for digital television was not

 finalized at the time the patent was filed. Similarly, in Celltrace LLC v. AT & T Inc., No. 6:09-

 CV-294, 2011 WL 738927 at *16 (E.D. Tex. Feb. 23, 2011) the Court explained that the term

 “GSM-compatible” could encompass later revisions to the GSM standard. See also Personalized
 Media Commc'n, LLC v. Motorola, Inc., No. 2:08-CV-70-CE, 2011 WL 4591898, at *8 (E.D.



                                                   2
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 7 of 15 PageID #: 14670




 Tex. Sept. 30, 2011) (claims not limited to version of NTSC standard at the time patent filed).1

        The one case cited by Verizon, Promethean Insulation Tech. LLC v. Sealed Air Corp.,

 No. 2:13-CV-1113, 2015 WL 11027039 at *1-3 (E.D. Tex. Oct. 25, 2015), is distinguishable. In

 that case, the claim at issue required “thermally insulating an object that requires a Class A

 standard insulation material.” Id. The patent explained that a material is “Class A” if it passes

 the ASTM E84 flame retardant test. The Court found that the claims were limited to materials

 that passed the ASTM E84 test as written when the patent was filed because the determination as

 to whether a material infringes should not change over time. Id. Unlike Superguide and the

 present case, the Promethean claim term defined a specific type of material; it was not a broad

 term for a class of signals that could encompass later arising technologies.

                Adapted To / Configured To
        Verizon does not dispute that these terms would encompass devices that are capable of

 using ODU0. For example, it does not assert that its proposal would convert the apparatus

 claims into method claims requiring a user to perform some configuration on the products at

 issue. Thus, it is unclear if the parties have a claim construction dispute with regard to these

 terms, or whether they may ultimately have an infringement dispute with respect to these terms.

 In any event, no further construction is necessary for these terms.

 III.   ’982 PATENT ANALYSIS

                In Groups of M Bytes
        Verizon does not dispute that this term refers to using an M-byte size “marble scoop.”

 Huawei’s proposed construction captures this meaning and is consistent with specification. ’982

 patent at 5:36-46. Whether the Court adopts Huawei’s proposal or finds no construction



 1
   In addition, as in Superguide, the ’151 patent was filed while the G.709 standard was being
 revised to include additional rate ranks. Indeed, the patent itself proposes modifying the standard
 to include the additional rate rank that would later be termed ODU0. ’151 patent at 4:30-5:21.
 Accordingly, Verizon fails to show that a POSITA would interpret this term as applying only to
 the rate ranks listed in the 2003 version of the standard.


                                                  3
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 8 of 15 PageID #: 14671




 necessary, Huawei requests that the Court affirm this “marble scoop” interpretation, as Verizon

 has taken a different position in an IPR petition.

                LO ODU / HO OPU
        This dispute is similar to the “rate rank” dispute with respect to the ’151 patent.

                Encapsulating Overhead Information to an Overhead Area of the ODTU
        Verizon argues that its proposal is consistent with two prior art references. However,

 Verizon cites no statement from the applicant (or examiner) discussing these references during

 prosecution. Nor could it, the ’982 claims issued without ever receiving a § 102 or § 103

 rejection. Moreover, the portions of those references cited by Verizon’s expert do not even

 contain the “embedding” or “from another protocol or layer” terms that Verizon seeks to read

 into the claims. Verizon also relies on a dictionary definition, but this dictionary pre-dates the

 ’982 patent by twelve years, and it pre-dates the G.709 standard by five years. Accordingly, this

 extrinsic source is entitled to no weight even if it had been submitted into evidence, which it was

 not. Finally, Verizon argues that it is irrelevant whether Verizon’s proposed construction is

 consistent with the G.709 standard because that document is an extrinsic source. However, a

 POSITA would recognize that the ’982 patent is designed to improve to the G.709 standard such

 that it would make no sense to interpret the claims inconsistently with G.709 overhead structure.

                Time Slot
        Both sides’ experts and the ITU-T (the standard-setting body for G.709) have explained

 that the terms “time slot” and “tributary slot” are interchangeable in the context of the G.709

 standard. Dkt. No. 82-11 at ¶¶ 48-49.2 Verizon’s only argument in response is that the parent
 application to the ’982 patent, U.S. Pat. App. No. 12/712,675 which issued as U.S. Patent No.

 8,948,205 (“the ’205 patent”), uses the term “time slot” in place of the term “tributary slot.” But

 this proves Huawei’s point. The fact that the ’205 and ’982 specifications are nearly identical

 2
   In a footnote, Verizon disputes that its expert testified that these terms are interchangeable, but
 it fails to address the testimony at issue. See Dkt. No. 82-9 at ¶ 34 (referring to “time slots
 (known as ‘tributary slots’)”).


                                                      4
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 9 of 15 PageID #: 14672




 except that that the term “tributary slot” replaces the term “time slot” confirms that the inventors

 used these terms interchangeably—they literally inter-changed them when referring to the exact

 same slots. Moreover, the examiner found that the time slot claims of the ’205 patent were “not

 patentably distinct” from the tributary slot claims of the ’982 patent. Dkt. No. 98-13 at 192-93.

                Tributary Slot
        Verizon does not attempt to justify its construction, instead confusing this term with the

 “rate rank” terms. Accordingly, the Court should find that no construction is necessary.

                Optical Channel Data Tributary Unit (ODTU) Signal
        This dispute is similar to the “rate rank” dispute with respect to the ’151 patent.

 IV.    ’236 PATENT ANALYSIS

                client signal byte number Cn
        Verizon acknowledges that this term cannot be limited to just one equation to calculate

 Cn (Resp. at 17, n.6), but its revised proposal is still deficient. Verizon has not established

 definition or disclaimer to narrow this term to particular equations. Nor can the G.709 standard’s

 description of Cn justify this result. See Dkt. 82-11 (Bortz Decl.) at ¶¶ 58-59.3 Even the G.709

 Standard describes Cn using narrative text, not merely as a value of a particular equation. See,

 e.g., Ex. 9 at 163 (on the same page cited by Verizon, stating “cn: number of client n-bit data

 entities per server frame or server multiframe”); Bortz Decl. at ¶¶ 56-57.

        Verizon argues that the term must be construed with the equation because the

 specification and claims indicate the Cn is generated according to a client signal clock and a

 system clock. See Resp. at 17-18. Rather, the opposite is true—this demonstrates that the claims

 already recite that the Cn is generated according to the clocks. Thus, Verizon’s proposal is also

 3
   Additionally, Verizon’s proposal draws an equation from the “Basic Principles” section of
 Annex D to the exclusion of other parts of the Standard, like Section D.2 in Annex D that relates
 specifically to GMP in OTN and includes numerous other equations. See id. at ¶ 57; Dkt. 82-10
 (Ex. 9, G.709 Standard) at Section D.2, 166-69. Also, Verizon’s proposal remains problematic
 for requiring an equation that would result in a non-integer number for Cn, which must instead
 be an integer to be transported in an OTN frame. See id. at ¶ 58; see also Ex. 9 at 166-167.


                                                   5
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 10 of 15 PageID #: 14673




 superfluous. See Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005)

 (rejecting construction that would render claim language superfluous). Finally, Verizon’s

 argument against Huawei’s proposal is unavailing. See Resp. at 18. A POSITA would understand

 Cn is considered on a per-frame basis. See Bortz Decl. at ¶ 56; see also Ex. 9 at 163-167.4

                if the Cn transported in the OTN frame needs to be [increased / decreased]
        The specification describes embodiments and conditions when the Cn needs to be

 increased or decreased as compared to the value in the previous frame. See Bortz Decl. at ¶ 61.

 For example, the specification explains that a request to increase the Cn is generated when client

 signal data written into a buffer reaches or exceeds an upper threshold, and a request to decrease

 the Cn is generated when client signal data written into a buffer reaches or drops below a lower

 threshold. See ’236 patent at 8:44-9:2; see also id. at 9:48-63, 15:48-16:5; cf. Bortz Decl. at ¶ 61.

 The specification also describes that the thresholds are reached depending on whether the system

 clock reading rate is relatively higher or lower than the client signal clock writing rate. See, e.g.,

 ’236 patent at 8:44-9:2, 9:48-63. This disclosure informs a POSITA about the claim scope with

 reasonable certainty. Verizon cannot carry its clear and convincing burden to show otherwise.

                revers[e/ing] … values of [a/the] [first / second] series of bit positions
        By reciting reversing the “values” of the series of bit positions, this term recites changing

 the values in each bit position, i.e., each ‘1’ becomes a ‘0’ and vice versa, 1101 becomes 0010.5
 Verizon rewrites the claim to require reversing the “order” of those values, i.e., 1101 becomes

 1011. See Resp. at 19-20; contrast Bortz Decl. at ¶¶ 64-65. But the claim recites reversing the

 “value,” not the order or position of the bits. Also, Verizon relies on extrinsic evidence,

 4
   Huawei does not propose that Cn is a fixed value across all time as Verizon suggests. See Resp.
 at 18. Rather, Huawei’s proposal recognizes that Cn represents the number of client signal bytes
 in one frame, and because client signals can change from frame to frame, so can the Cn value.
 Moreover, Huawei’s proposal better aligns with the claim language and the specification. See
 Bortz Decl. at ¶ 56; ’236 patent at Abstract, 3:1-6, 1:64-65; 10:24-30; 11:65-67; 14:1-19.
 5
  Verizon accuses Huawei of removing the word “series” from the claim. See Resp. at 19.
 Huawei is not. As written in the claim, reversing the values of a series of bit positions means
 changing the value of each bit position in a series.


                                                    6
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 11 of 15 PageID #: 14674




 including expert testimony and the Microsoft Computer Dictionary to argue that the word

 “reverse” has a narrowly understood meaning that is different from the word “invert.” See Resp.

 at 20 (citing Dkt. 98-7 at ¶¶ 45, 47). But the Microsoft Computer Dictionary also defines the

 word “invert:” “1. To reverse something or change it to its opposite.” See Ex. A (emphasis

 added). Thus, even Verizon’s own evidence undermines its interpretation and position.

                 [a / the] first series of bit positions / [a / the] second series of bit positions
        While Verizon fails to show that a construction is necessary (Resp. at 21, n.7), Huawei

 would not oppose a clarification that the first series and second series are distinct.

                [whether] the [client signal byte number] Cn exceeds [a / the] range
        While Verizon fails to show that a construction is necessary (Resp. at 21, n.8), Huawei

 would not oppose a clarification that the range is of a maximum value of Cn and a minimum

 value of Cn that depend upon the client signal type.

                identifying the Cn is normal [in a first area]
        Verizon purports to be applying a controlling definition from the specification, but its

 proposal does not match the cited portion of the specification. Compare Resp. at 22 (Verizon’s

 proposal) with ’236 patent at 6:56-63 (purported definition). If the Court relies on this portion of

 the specification, it is more appropriate to construe the longer phrase “identifying the Cn is

 normal in a first area in an optical channel payload unit-k (OPUk) overhead field of the OTN

 frame.” This avoids inconsistencies and awkwardness in the claim language. Additionally,

 Verizon’s proposal materially changes the specification. The Court instead should construe the

 longer phrase as “identifying, in a first area in an optical channel payload unit-k (OPUk)
 overhead field of the OTN frame, that the Cn value falls in a range between the minimum value

 and the maximum value of the acquired client signal Cn, which represents that the client signal

 type born by the current OPUk remains unchanged, and it is still the client signal type born by

 the previous OPUk.” See ’236 patent at 6:56-63 (modified to match claim language).




                                                   7
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 12 of 15 PageID #: 14675




                  generat[e/ing] a client signal byte number Cn . . .
           A POSITA would understand what the clocks were and how to generate a Cn “according

 to” the clocks. See Bortz Decl. at ¶¶ 80-82.6 And Huawei did not say that a value is generated

 according to clocks “just because the value might coincide with some parameter associated with

 the clocks.” See Resp. at 23. Instead, Dr. Bortz described various techniques understood by and

 known to a POSITA for calculating or generating a Cn “according to” the two clocks that are not

 just limited to an instantaneous value. See Bortz Decl. at ¶¶ 81-82. Moreover, these terms are

 recited in claims focused on methods to transmit or on transmitting devices. See, e.g., ’236 patent

 at claims 1, 7, 13. But according to Verizon, the Cn must be transported before it is generated.

 See Resp. at 24. This is not logical. Still, Verizon asserts that the “specification…never suggests

 that this value will be transported in the future.” See Resp. at 24 (emphasis added). But a

 POSITA would understand that the claim term is referring to the Cn “to be transported” in an

 OTN frame period. See, e.g., ’236 patent at claims 1, 7, 13, 6:1-13 (referring to Cbyte field that

 “needs to be transported in the OPUk-Xv frame”) (emphasis added), FIG. 7 (showing logical

 flow from “Cn value generating unit” to “Transmitting unit” and not the other way around).

 V.        ’505 PATENT ANALYSIS

                  Optical Channel Data Tributary Unit (ODTU) [frame] / ODTU [frame]
           Verizon fails to reckon with the fact that the ODTUjk overhead structure does not have a

 Cn byte or a Cbyte field to allow for the mapping of Cn information. See Br. at 20-21; Bortz

 Decl. at ¶¶ 86-88; compare Ex. 9 at 128-31 (ODTUjk not including any Cm or Cn information)

 with Ex. 9 at 132-38 (ODTUk.ts including Cm or Cn information). Thus, Verizon’s position

 conflicts with the claims, which explicitly recite mapping Cn information to an ODTU frame.

                  determining a quantity of n-bit data units of the client signal based on. . .
           See “generating a client signal byte number Cn….” term with respect to the ’236 patent.




 6
     Verizon’s proposal also introduces antecedent basis issues. See Resp. at 23, n. 10.


                                                    8
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 13 of 15 PageID #: 14676




                n-bit data units / n indicating the number of the multiple OPUk TSs
        “[T]he same claim term can have different constructions depending upon the context of

 how the term is used within the claims and specification.” Aventis Pharm. Inc. v. Amino Chems.

 Ltd., 715 F.3d 1363, 1374 (Fed. Cir. 2013). A POSITA would understand “n” to mean different

 things in different terms, and the specification uses the same letter in many contexts. See Bortz

 Decl. at ¶¶ 94-98. Also, “n” is not even a standalone claim term—it is a part of different terms.

                Optical Channel Payload Unit-k Tributary Slot (OPUk TS)
        See “rate rank” dispute with respect to the ’151 patent.

                mapping each byte of the second ODTU frame to at least one OPUk TS
        Huawei agrees that one byte is eight bits. No further construction is necessary.

 VI.    ’253 PATENT ANALYSIS

                Judging Terms
        According to Verizon’s expert, the stored record identifier must include two distinct

 values, one for each port. Resp. at 28. However, Dr. Almeroth fails to explain how the patent or

 claims require judging based on identifiers “for the port” or “for both ports”, instead of simply

 judging based on “a fault identifier record stored in the second node,” as claimed. And while the

 specification includes examples where identifiers are stored based on port information, none of

 those examples rise to the level of definition or disclaimer. Indeed, the specification contradicts

 Verizon’s reliance those specific embodiments: “[t]he fourth Embodiment differs from the

 above embodiments in that: the source addresses of the fault messages are stored as a fault

 identifier based on the port.” ‘253 patent at 6:54-56 (emphasis added).

                Configured To
        See the term “configured to” in the ’151 patent.
                Null
        Verizon relies on a definition of a different term “null character” and the purported lack

 of examples in the specification. These arguments cannot override the plain claim language.

 VII.   ’485 PATENT ANALYSIS


                                                  9
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 14 of 15 PageID #: 14677




         Because Verizon abandoned its indefiniteness assertion for this patent and failed to show

 that any of the remaining terms require a construction, no constructions are necessary.

 VIII. ALLEGED SECTION 112(6) TERMS
         Verizon asserts that the terms at issue are distinguishable from those in Samsung, Canon,

 etc. because the Huawei patents refer to “units,” “subunits,” and “modules.” To be clear, the

 terms at issue are: “a first processing unit. . .,” “decoding subunit. . .,” “a first unit . . .

 comprising one or more processors instructed by one or more software programs,” etc. Verizon

 fails to identify a meaningful distinction between these terms and the “control unit,” and “digital

 processing unit” terms at issue in other cases.

         Next, Verizon argues that the G.709 and G.8032 standards fail to identify sufficient

 structure for these terms. But what matters is whether a POSITA would understand the claim

 terms to refer to structure. As Huawei explained, a POSITA would be familiar with G.709 and

 G.8032 equipment and understand the relevant structure for these terms. Verizon’s expert

 agrees; he testified: “A person of ordinary skill in the art would have been familiar with the

 various types of modules or interfaces used in an ITU-T G.709 network . . . [and] a POSITA

 would understand that every G.709 network interface must include, at a minimum, certain

 structural components [listing components, e.g., laser, buffer, processor].” Dkt. No. 85-3 at ¶¶

 88, 90. Accordingly, a POSITA would understand that these terms are not purely functional.

         Verizon also argues that several patents fail to provide sufficient structure because they

 omit the word “processor.” But this conflates the identification of corresponding structure with

 the threshold question of whether § 112 ¶ 6 applies in the first place. Regardless, a POSITA

 does not need a tutorial on basic computing concepts to understand that G.709 devices contain

 processors. Similarly, Verizon attempts to distinguish Huawei’s patents from those at issue in

 Optis, based on conclusory expert testimony. But this testimony fails to consider the background

 knowledge a POSITA would have regarding G.709 and G.8032 devices. Accordingly, Verizon

 has failed to rebut the presumption that § 112 ¶ 6 does not apply to these claims.




                                                      10
Case 2:20-cv-00030-JRG Document 106 Filed 11/30/20 Page 15 of 15 PageID #: 14678




 Dated: November 30, 2020                    Respectfully submitted,

                                             /s/ Bradley W. Caldwell
                                             Bradley W. Caldwell
                                             Texas Bar No. 24040630
                                             Email: bcaldwell@caldwellcc.com
                                             Jason D. Cassady
                                             Texas Bar No. 24045625
                                             Email: jcassady@caldwellcc.com
                                             John Austin Curry
                                             Texas Bar No. 24059636
                                             Email: acurry@caldwellcc.com
                                             Justin Nemunaitis
                                             Texas Bar No. 24065815
                                             Email: jnemunaitis@caldwellcc.com
                                             CALDWELL CASSADY CURRY P.C.
                                             2121 N. Pearl St., Suite 1200
                                             Dallas, Texas 75201
                                             Telephone: (214) 888-4848

                                             Gregory P. Love
                                             Texas Bar No. 24013060
                                             greg@lovetrialfirm.com
                                             LOVE LAW FIRM
                                             P.O. Box 948
                                             Henderson, Texas 75653
                                             Telephone: (903) 212-4444

                                             Attorneys for Plaintiff Huawei Technologies Co.
                                             Ltd., and Counterclaim Defendants Huawei
                                             Technologies USA, Inc., and Futurewei
                                             Technologies, Inc.

                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that counsel of record is being served with a copy of the

 foregoing document via the Court’s electronic filing system on this 30th day of November, 2020.


                                                     /s/ Bradley W. Caldwell
                                                     Bradley W. Caldwell
